Case 1:20-cv-21108-UU Document 82 Entered on FLSD Docket 08/04/2020 Page 1 of 10

                                                                                                #


                                                                                FILED BY                    D.C.
                        IN TH E UN ITED STATES D ISTRIC T CO U RT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA                           ALC - 2%
                                     M IAM ID IV ISIO N                                ANGELA E.NoBl..E
                                                                                      c LERK U .S.DlS7:cE
                                                                                      s.D.OFFLA.-MIAMI
   M ARTA REYES,ETAL ,              ) DocketNumber: 20-cv-21108-UU
         Plaintiffs,                )
                                    ) DistrictJudge: TheHonorableUrsulaUngaro
                                    )
                                    ) M agistrateJudge: TheHonorableJohn O'Sullivan
   FSF PEOPLE 'S REPUBLIC           )
   OF CH INA,ETAL.,                 )
         Defendants.                )
        PUTATIVE CLA SS M EM BER 'S M O TIO N TO YW E AM IC US CURIAE BRIEF

                                           Introduction.

          PutativeClassCounselseeksto representaclassconsistingofççlalllpersons...inthe

   UnitedStateswhohavesufferedpersonalinjuly includingemotionaldistress,...relatedtothe
   outbreak oftheCOV1D-19virusl''and tllalllpersons...in theUnited Stateswho have suffered
   econom ic lossesdueto the outbreak ofthe CO VID -19 virusz.'' In otherwords,Putative Class

   Counselseeksto representa1lpersonsin the United States. Thus,the putative classwould

   include the authorofthisbrief,and thisauthorrespectfully m oves thisH onorable Courtforleave

   to file hisbriefasAm icus Curiae opposing the Court'scertification ofthe class.Am icus Curiae,

   in supportofhism otion forleave to file,statesas follows:

                             AmicusClfrleParticipation (Generallv).

          AsClassCounselcorrectly notes,thedecisionon ''lwlhetherto allow amicuscuriae
   participationisleftto thediscretion ofthedistrictcourt3.''Nevertheless,tsrtlhegeneralview is
   (thata1n amicusbriefshould normally be allowed when aparty isnotrepresented competently or
   isnotrepresented atal14.''Thisisso because,Ellhlistorically,theroleoftheamicuswasg)to

   1 E.C.F.Doc.Entry 11(FirstAmendedClassActionComplaint),p.39,(
                                                               II160a.
   2 Id.,p.39,% 160b.
   3 ECF40,p.4 (citationomitted).
   4 Id.,p.5.
Case 1:20-cv-21108-UU Document 82 Entered on FLSD Docket 08/04/2020 Page 2 of 10




   draw the court's attention to 1aw thatm ay otherwise notbe considered by the courts.''

                          AmicusCuriae Participation (In theCaseatBar).

          ClassCounsel,in opposingamicusparticipation,notesthat4tltlhe Plaintiffsare
   com petently represented in thiscase6.'' However,Class Counselignoresthatthe defendants are

   notreprcsented ata11in thiscase and willprobably neverbe represented before thisCourt, Class

   Counsel'scom plaintalleges,interJ/ïc,thata Chinese governm entscientistintentionally created

   the Coronavirus in aChinese governm entlaboratory and thatthe Chinese governm ent

   negligently and accidentally allowed the virusto escape into the Chinese public7. The com plaint

   furtherallegesthatttthe Chinese G overnm entDefendants delayed reporting COVlD-19 to the

   w HO forweeks afterthe outbreak was identifiedB''and ''allowed asym ptom atic carriersof

   COv lD -19 to leave W uhan ...and spread the virusg.'' However,the Chinese Governm ent

   5 Id.,pp.4-5(citationsomitted).
   6 ld.,p.7(ClassCounselnotingthatdsEtlhePlaintiffsarecompetentlyrepresented'').lnfact,the
     Plaintiffsmayactuallybeunfairlyrepresented.FloridaBarRegulationRule3-6.1(d)providesthat
      Florida law firmsi'may employ suspended lawyersand formerlawyerswho havebeen disbarred.''but
      disbarredlawyerstimustnothavecontact(includingengagingincommunicationinanymanner)with
      any client.'' However,ClassCounselisemploying adisbm ed lawyerto promotethislawsuitinmedia
      outletsthroughouttheUnitedStates.Fla.Barv.Alters,260So.3d72,86 (Fla.2018)(çç leremyW .
      Altersisherebydisbarred''l;ClassCounselW ebsite(listingJeremyW.AltersasthetçchiefFirm
      Strategist''and noting thattçhe wasadmitted to theFloridaBarin 1997,9'thathe hasttachieved verdicts
      totaling over$5.5 billion dollars,''and thathe hastssuccessfully litigated hundredsofcasesto massive
      settlements''),availableathttps://www.bermanlawgroup.coe meet-our-teae executive-staff/jeremy-
      alters(lastvisitedJuly27,2020).  ,CurtAnderson,US Wrl  u PatientsandBusinessesSueChina Over
      Outbreak,M inneapolisStarTribune(May 10,2020)(dçattorneysM atthew MooreandJeremyAlters
      aresuingtheChineseCommunistParty''),availableathttps://www.strthbune.coe us-virus-patients-
      and-businesses-sue-china-over-outbreabs7o3sls4l'   ,Katy StechFerek,LawsuitsTargetChinafor
      CoronavirusDamage,WallStreetJournal(April22,2020)(tsleremyAlters,Berman Law Group's
      chiefstrategist,saidheplanstoexpandthelawsuit''),availableat
      https://www.wsj.coe alicles/lawsuits-target-china-for-coronavirus-damage-lls87s8szlz'
                                                                                          ,EricM ack,
      Berman fww Group to Newsmax FM'Join Usin Suing China,Newsmax (M arch 31,2020)(çççW e are
      gathering clientsaswe speaky'JeremyAlters,thefirm 'sspokesman,toldTuesday's tGreg Kelly
      Reports.''').availableathttps://www.newsmax.coY usiawsuit-pandee c-wuhan-
      bioweapons/2020/03/31/i&960833/.
      ECF 11(FirstAmendedClassActionComplaint),p.14,%63(ûTheRootsofCOVm -19- (W uhan
      InstituteofVirology)Labs'')-p.19,tll75.
      ECF 11p.31,%61.(ClassCounselmisnumberedthisparagraphsasparagraphfç61''eventhoughthis
      paragraphappearsafterparagraphiç118''andimmediatelybeforeparagraphiç119.'')
      ECF 11p.13,%57.
Case 1:20-cv-21108-UU Document 82 Entered on FLSD Docket 08/04/2020 Page 3 of 10




   Defendants,asentitiesofa foreign sovereign state,are com pletely tlim m unefrom the

  jurisdictionofthecourtsoftheUnitedStates,''exceptinlimitedcircumstancesthatdonotexist
   in thiscase.28 U.S.C.j 1604 (the44lE7oreign Sovereign lmmunitiesAct'').
          Section 1608(e)oftheForeign Sovereign lmmunitiesActprohibitsadistrictcourtfrom
   enteringjudgmentagainstaforeignsovereignonaccountoftheforeignsovereign'sfailureto
   appear,and.consequently,foreign sovereigns often refuse to appearbefore districtcourtslo.

   Expertson the the Foreign Sovereign lmm unitiesA cthave com m ented that,in particular,dtchina

   tendsto refuse to cooperate w ith oreven acknowledge suitsin U .S.courtsand islikely to be

   even m ore recalcitrantthan usual''with respectto any law suitschallenging China'sresponse to

   the Coronavirusll. ln fact,the Chinese governm enthasalready publicly stated thatits ûçresponse

   tothevinzsisnotunderthejurisdictionofU.S.courtsso gsuchallawsuitgilsirrelevantlz.''
          Thusfar,the Chinese G overnm entDefendants have notappeared before the Courtand

   are notrepresented atal1before thisCourt,and the Chinese G overnm entDefendants will

   probably neverbe represented. M oreover,am icushasneverhad any relationship whatsoever

   with the Chinese governmentorw ith China,exceptthatam icus participated in a study abroad to

   Shanghaiwhen am icus was astudentatNew York University. Hence,this Courtshould grant




   10 ScottSimon,How Do FolfGoAboutSuingA Country/,NationalPublicRadio(October8,2016),
      (quotingUniversityofTexasSchoolofLaw ProfessorStephenVladecknotingthatfflslome
      (countries)justnevershow up''tocourt),availableat
      https://www.npr.or#2016/10/08/497l64736low-do-you-go-about-suing-a-country.
   11DanMcLaughlin,Missouri%M isguidedLawsuitAgainstChina,NationalReview (April23,2020),
      availableathttps://www.nationalreview.coe zozo/o4/e ssouris-e sguided-lawsuit-agznst-china.
   12DavidBrennan,ChinaSaysM issouriCoronavirusLawsuitIsf'Xtpf/lïrlgShortofAbsurdit.y'',
     Newsweek(Ap1il22,2020),availableathttps://www.newsweek.coe china-e ssoui-coronavims-
      lawsuit-nothing-shod-absurdity-l4gg48l.
Case 1:20-cv-21108-UU Document 82 Entered on FLSD Docket 08/04/2020 Page 4 of 10




   leave foramicusto file hisbriefopposing the Court'scertification ofthe classbased on Federal

   RuleofCivilProcedure23(b)(3)(Exhibit1).
         Respectfully subm itted,
         ClassM em berL Am icus Curiae PatilCam arena
         /J/PalilCam arena
         PatilCam arena,Esq.
          Adm itted to practice law in New York and before the U .S.Dist.Ct.N .Dist.11l.
          500 So.Clinton,No.132
          Chicago,IL 60607
          Paulcam r ena@ paulcam arena.com
          (312)493-7494
Case 1:20-cv-21108-UU Document 82 Entered on FLSD Docket 08/04/2020 Page 5 of 10




                             E xhibit 1
Case 1:20-cv-21108-UU Document 82 Entered on FLSD Docket 08/04/2020 Page 6 of 10




                         IN TH E UN ITED STATES D ISTR ICT CO U RT
                        FO R TH E SO UTH ERN DISTR ICT O F FLO RIDA
                                      M IA M ID IVISIO N

   M ARTA REYES,ETAL ,                ) DocketNumber: 20-cv-21108-UU
         Plaintiffs,                  )
                                      ) DistrictJudge: TheHonorable UrsulaUngaro
                                      )
                                      ) M agistrateJudge: TheHonorableJohn O'Sullivan
   THE PEOPLE 'S REPUBLIC             )
   OF CH INA ,ETAL ,                  )
         Defendants.                  )
                          AM ICUS C URIA E 'S BRIEF O PPO SIN G
                  TH E CO URT 'S CERTIFICATIO N O FA CLASS BASED O N
                      FEDEM L RULE OF CIVIL PRO CEDURE 23(b)(3)

            In the case atbar,32 Iqaintiffsallege thatthe chinese governm entcreated the

   coronavin,sand accidentally allowed thatvirusto escape into the world'. The Plaintiffsthen

   assertthat,pursuantto Fed.R.Civ.Pro.23(b)(3),thisHonorableCourtshould certifyaclass
   consisting ofessentially everyonein theUnited Statesz.However,Rule23(b)(3),theAdvisory
   Com m ittee N otes,and binding precedental1establish thatacourtcannotappropriately certify

   such a m assively diverse class.

          Rule23(b)(3)statesthataparty may maintain aclassaction ifdçquestionsof1aw orfact
   comm on to classm em berspredom inate overany questions affecting only individualmembers.''

   TheRuleAdvisoryCommitteeNotesalsostatethatattmassaccidentresultingininjuriesto
   numerouspersonsisordinarilynotalmropriateforaclassaction because ofthelikelihoodthat

   significantquestions,notonly ofdam agesbutofliability and defensesofliability,would be

   present,affectingthe individualsin differentways.''(lnternalquotationsomitted andemphasis


   1 ECF 11(FirstAmendedClassActionComplaint),p.14,(II63(tTheRootsofCOVID-19- (W uhan
     InstituteofVirology)Labs'')-p.19,%75.
     Id.,p.39,% 160a(tçclassesaredescribedas...(alllpersons...intheUnitedStateswhohavesuffered
     economiclossesduetotheoutbreakoftheCOV1D-19virus''l'    ,Id.,p.46,t
                                                                       ll169 (çt
                                                                               plaintiffs'legal
     claimsareproperlycertifiedpursuanttoRule23(b)(3)'').
Case 1:20-cv-21108-UU Document 82 Entered on FLSD Docket 08/04/2020 Page 7 of 10




   added.)
           lnAmchem Prods.,Inc.v.Windsos521U.S.591,597.602- 605 (1997),thedistrict
   courtcertified a class consisting of4thundredsofthousands,perhapsm illions,ofindividuals''

   who had been exposed.orwhose fam ily had been exposed,to asbestosproducts. However,the

   CircuitCourtreversed thatcertitication and the Suprem e Courtaftinned thatreversal. Id.,at611
   -
       612.TheSupremeCourtexplained thatç4ltlhatcertiticationcannotbeupheldl!foritrestson
   aconception ofRule23(b)(3)'spredom inancerequirementirreconcilablewith theRule's
   design''becauseilclassmembersin thlatlcase wereexposed (1indifferentways,overdifferent
   periods,andfordifferentamountsoftime;somesufferednophysicalinjuly otherssuffered
   disabling ordeadly diseases.'' Id.,at609 & 625.The Suprem e Courtalso agreed with the

   CircuitCourt'sassessmentthatSçldlifferencesin statelaw ...compoundthesedisparities.''Id.,at
   624.

           Similarly,inRink v.Cheminova,Inc.,203 F.R.D.648,656(M .D.Fla.2001),Plaintiffs'
   counselurged the districtcourtto certify classes consisting ofpersonsw ho had been exposed to

   insecticide and persons who had reported insecticide related poisoning. However,the district

   courtcitedAm chem Prods.,Inc.v.W indsorand noted thattiputative classm em bersm ay claim a

   broad range ofhighly diverse reactions,and the nature and extentofthe harm suffered depends

   in partupon the variousindividualcircum stances ofthe person exposed,including theircurrent

   health and pastm edicalhistoly '' Rink,at667. $W 1lofthissays nothing ofthedefensesof

   com parative fault,pre-existing conditions,and failure to m itigate on the partofthe Plaintiffs.''

   ld.Thus,i%liln lightofthehighlyindividualized factualand legalquestionsimplicated by
   Plaintiffs'claims,thecourttlound)thatPlaintiffshaldlfailed to satisfy thepredominance
   requirementofRule23(b)(3).'' Id.
Case 1:20-cv-21108-UU Document 82 Entered on FLSD Docket 08/04/2020 Page 8 of 10




          Justlike the putative classm em bersin Am chem Prods.tInc,at609,the putative d<class

   membersinthiscasewereexposed (to theCoronaviruslin differentways,overdifferentperiods,
   andfordifferentamountsoftime;somesufferednophysicalinjury,otherssuffereddisablingor
   deadly diseases.''W hile m any classm em bersexperience only t'the sniffles''from being exposed

   totheCoronavirus3,otherclassmembersactuallydiefrom COVID-194.Also,justlikethe
   putative class mem bers in Rink,at667,the putative classm em bersin the instantcase have

   wildly diverse issueswith respectto 'lcom parative fault,pre-existing conditions,and failure to

   m itigate''COV 1D-19 dam ages. W hile som e putative classm em bersexperienced CO VID -l9

   complicationsdespite taking reasonable precautions,otherputative class m em berswere

   contributorily negligentby intentionally exposing them selvesattf oronaviruspartiess.'' Still

   otherclassm em bers'dam ages are legally attributable,notto COVID-19,butto a later

   interveningact:theirconsumption ofdisinfectant6.Hence,ilrilnlightofthehighly
   individualized factualand legalquestionsimplicatedby Plaintiffs'claims,thecourtrshouldl




   3 GracePanetta,Trump SaysManyoftheUSCoronavirusCasesAreJustPeopleW/lt?ç4havethe
     snv es'',BusinessInsider(July 19,2020),availableathttps://www.businessinsider.coY eump-says-
      coronaviO s-patients-have-snifies-m any-cases-shouldnt-be-cases-zozo-7.
      M axCohen,WhiteHouseDehantasCovid-lgDeathsApproach 130,000,Politico(July6,2020),
      availableathttps://www.politico.coe states/new-yorrcity-hall/story/zozo/o7/o6/white-house-defiant-
      as-covid-19-deaths-approach-130-000-1297419.
      M icaSoellneqAlabamaStudentsHosting CoronavirusPartiesBW/lPrizeM oneyforFirsttoGet
      lnfected,WashingtonExaminer(Ju1y2.2020).availableat
      https://www.washingtonexae ner.coe news/alabam a-students-hosting-coronavirus-parties-with-phze-
      m oney-for-srst-to-get-infected.
      KaylaEpstein,KansasMan ConsumedCleaningProductsLastWeekendAfterTrump MusedThat
      InjectingDisinfectantsMightHelp FighttheCoronavirus,Businesslnsider(April28,2020),available
      athttps://www.businessinsider.coe kansas-m an-consumes-cleaner-tm mp-disinfectants-cure-
      coronavirus-zozo-4.
Case 1:20-cv-21108-UU Document 82 Entered on FLSD Docket 08/04/2020 Page 9 of 10




   findl1thatPlaintiffshavefailed to satisfy thepredominancerequirementofRule23(b)(3),''and
   thecourtshould refuseto certify aclassbased onRule23(b)(3).Rink,at667.
         Respectfully subm itted,
         ClassM ember& Am icus CuriaePatilCam arena
         /s/palLlCam arena
         PalilCam arena,Esq.
         Adm itted to practice 1aw in New York and before theU .S.Dist.Ct.N .Dist.Il1.
         500 So.Clinton,N o.132
         Chicago,IL 60607
         Paulcam r ena@ paulcam arena.com
         (312)493-7494
                                                                     k
Case 1:20-cv-21108-UU Document 82 Entered on FLSD Docket 08/04/2020 Pagel10 of 10




                                                                         k
                                                          ?o
                                                           &sm
                                                          G rz
                                                          >
                                                          0Q o (7
                                                             .
                                                          9- m   w       N
                                                              -ïn
                                                           te >
                                                           k o
                                                              = H
                                                              =. $
                                                                             <   î
                                                                                 .
                                                           &
                                                           o. P k
                                                           o
                                                                                 è


                                                          < oZ




                              Z
                              7'o
                                W
                                =Qu Q
                                    1>Y
                              H Z a R >.


                              -
                              u.o
                              > >
                                  l o x
                                = r
                              re       p =
                                         77->
                              ï zr
                              ua  oor
                              t 7'g a -
                                      a
                              xo g o s.a
                                   .g g y
                                   >
                                   X
                                   o
                                   >




                                                                     N
